Case.net: ISNML MIO Ry Docket Batties. 1.1 Filed: 01/15/19 Page: 1 of 34 Pagelb3gu! of 1

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18NM-CV00745 - ROSHIA MOORE ET AL V DEQUEZ SANDERS ET
AL (E-CASE)

 

 

 

 

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12/31/2018 [] Judge Assigned
The Honorable W. Edward Reeves

11/19/2018 [] Summ Issd- Circ Pers Serv O/S
Document ID: 18-SMOS-60, for TRADEWINDS LOGISTICS.
[] Summ Issd- Circ Pers Serv O/S
Document ID: 18-SMOS-59, for TRADEWINDS LOGISTICS.
[1] Summ Issd- Cire Pers Serv O/S
Document ID: 18-SMOS-58, for WILSON, KEVIN.
C] Summ Rea-Cire Pers Serv O/S
Request for Summonses.
Filed By: BRENT ALAN SUMNER
On Behalf Of: ROSHIA MOORE, LINDA MOORE, ZACHARIUS MCCLAIN, TERESA MOORE

11/07/2018 (] Filing Info Sheet eFiling
Filed By: BRENT ALAN SUMNER
[] Consent to Appt Next Friend
Consent to Act as Next Friend for Zacharius McClain.
Filed By: BRENT ALAN SUMNER
On Behalf Of: ROSHIA MOORE, LINDA MOORE, DEQUEZ SANDERS, ZACHARIUS MCCLAIN,
TERESA MOORE
L] Consent to Appt Next Friend
Consent to Act as Next Friend for Dequez Sanders.
Filed By: BRENT ALAN SUMNER
[_] Motion for Change of Venue
Motion for Change of Venue.
Filed By: BRENT ALAN SUMNER

C1] Pet Filed in Circuit Ct

 

Petition.
L] Judge Assigned
Case.net Version 5.14.0.6 Return to Top of Page Released 12/31/2018

EXHIBIT

lA

 

https://www.courts.mo.gov/casenet/cases/searchDockets.do 1/14/2019
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 2 of 34 PagelD #: 5
bv TY199

IN THE 34TH JUDICIAL CIRCUIT, NEW MADRID COUNTY, MISSOURI

 

 

 

 

 

 

 

 

Judge or Division: Case Number: 18NM-CV00745
FRED W COPELAND iy
Plaintiff/Petitioner: Plaintiff's/Petitioner's Attorney/Address: . :
ROSHIA MOORE BRENT ALAN SUMNER ce

SUITE 400

911 WASHINGTON AVENUE uo

vs. | SAINT LOUIS, MO 63101 os :

Defendant/Respondent: Court Address: Qh :
KEVIN WILSON New Madrid Court House a =
Nature of Suit: 450 Main Street
CC Pers Ipjury-Vehicular NEW MADRID, MO 63869 (Date File Stamp)

 

 

  

Summons for-Personal Service Outside the State of Missouri
a (Except Attachment Action)
|_-Thé State of Missouri to: TRADEWINDS LOGISTICS

 

Alias:
C/O RA ERIC DOUTHIT A
2 NORTH 9TH STREET foe
\ NOBLESVILLE, IN 46060 r — _

You are summoned to appear before this court and to file your pleading to the petition, copy of
hictris attached, and to serve a copy of your pleading upon the attorney for the

plaintiff/petitioner at the above address all within 30 days after service of this summons upon

you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be

taken against you for the relief demanded in this action. ; .

13/39/48 “Meuse Pe Heloras.

NEW MADRID COUNTY Date Clerk by: /s/Jo Crockett

Further Information:

Officer’s or Server’s Affidavit of Service

 

 

 

| certify that:
1. lam authorized to serve process in civil actions within the state or territory where the above summons was served.
2. My official title is of County, (state).

 

3. [have served the above summons by: (check one)
delivering a copy of the summons and a copy of the petition to the defendant/respondent.
{_] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the

defendant/respondent with , a person of the defendant’s/respondent’s family
over the age of 15 years who permanently resides with the defendant/respondent.

(_] (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

(name) (title).
(1 other:
Served at (address)
in County, (state), on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Subscribed and sworn to before me this (day) (month) (year).

 

| am: (check one) ([] the clerk of the court of which affiant is an officer.
(| the judge of the court of which affiant is an officer.

(1 authorized to administer oaths in the state in which the affiant served the above
(Seal)
summons. (use for out-of-state officer)

(_] authorized to administer oaths. (use for court-appointed server)

 

Signature and Title

 

Service Fees

 

 

 

 

Summons $
Non Est $
Mileage $ ( miles @ $ per mile)
Total $
See the following page for directions to officer making return on service of summons.
OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SIMOS-60 1 of 2 (18NM-CV00745) Rules 54.06, 54.07, 54.14, 54.20;

506.500, 506.510 RSMo
| Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 3 of 34 PagelD #: 6

 

 

Directions to Officer Making Return on Service of Summons

A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
defendant's/respondent’s refusal to receive the same.

Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
registered agent or to any other agent authorized by appointment or required by law to receive service of process;
(4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
any person otherwise lawfully so designated.

Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
territory where such service is made.

Service may be made in any state or territory of the United States. If served in a territory, substitute the word
“territory” for the word “state.”

The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
manner of service, the official character of the affiant, and the affiant's authority to serve process in civil actions
within the state or territory where service is made.

Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
30 days after service.

 

 

OSCA (07-18) SM60 (SMOS) For Court Use Only. Document ID# 18-SMOS-60 2 of 2 (18NM-CV00745) Rules 54.06, 54.07, 54.14, 54.20;
506.500, 506,510 RSMo
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 4 of 34 PagelD #: 7

IN THE 34TH JUDICIAL CIRCUIT, NEW MADRID COUNTY, MISSOURI

 

 

 

Judge or Division: Case Number: 18NM-CV00745
FRED W COPELAND
Plaintiff/Petitioner.: Plaintiff's/Petitioner's Attorney/Address:
ROSHIA MOORE BRENT ALAN SUMNER

SUITE 400

911 WASHINGTON AVENUE
vs. | SAINT LOUIS, MO_ 63101

 

 

 

 

Defendant/Respondent: Court Address:

KEVIN WILSON New Madrid Court House

Nature of Suit: 450 Main Street

CC Pers Injury-Vehicular NEW MADRID, MO 63869 (Date File Stamp)

 

Summons for Personal Service Outside the State of Missouri
(Except Attachment Action)

The State of Missouri to: TRADEWINDS LOGISTICS
Alias:

 

C/O RA ERIC DOUTHIT
2 NORTH 9TH STREET
NOBLESVILLE, IN 46060

You are summoned to appear before this court and to file your pleading to the petition, copy of
which is attached, and to serve a copy of your pleading upon the attorney for the
plaintiff/petitioner at the above address all within 30 days after service of this summons upon
you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
taken against you for the relief demanded in this action.

11/19/18 “ne é “4

NEW MADRID COUNTY Date Clerk by:/s/Jo Crockett
Further Information:

Officer’s or Server's Affidavit of Service

 

 

 

| certify that:
1. lam authorized to serve process in civil actions within the state or territory where the above summons was served.
2. My official title is of County, (state).

 

3. | have served the above summons by: (check one)
delivering a copy of the summons and a copy of the petition to the defendant/respondent.

[] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
defendant/respondent with , a person of the defendant’s/respondent's family
over the age of 15 years who permanently resides with the defendant/respondent.

L] (for service ona corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

(name) (title).
[-] other:
Served at (address)
in County, (state), on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Subscribed and sworn to before me this (day) (month) (year).
| am: (check one) Cc] the clerk of the court of which affiant is an officer.
L_] the judge of the court of which affiant is an officer.
(Seal) _] authorized to administer oaths in the state in which the affiant served the above

summons. (use for out-of-state officer)
[1] authorized to administer oaths. (use for court-appointed server)

 

Signature and Title

 

Service Fees

 

 

 

 

Summons $
Non Est $
Mileage $ ( miles @ $ per mile)
Total $
See the following page for directions to officer making return on service of summons.
OSCA (07-18) SM60 (SMOS) For Court Use Only. Document ID# 18-SMOS-60 1 of 2 (18NM-CV00745) Rules 54.06, 54.07, 54.14, 54.20;

506.500, 506.510 RSMo

 
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 5 of 34 PagelD #: 8

 

Directions to Officer Making Return on Service of Summons

A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
defendant’s/respondent’s refusal to receive the same.

Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
leaving a copy of the summons and motion at the individual's dwelling house or usual place of abode with some
person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
registered agent or to any other agent authorized by appointment or required by law to receive service of process;
(4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
any person otherwise lawfully so designated.

Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
territory where such service is made.

Service may be made in any state or territory of the United States. If served in a territory, substitute the word
“territory” for the word “state.”

The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
within the state or territory where service is made.

Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
30 days after service.

 

 

 

OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SMOS-60 2 of 2 (18NM-CV00745) Rules 54.06, 54.07, 54.14, 54.20;
506.500, 506.510 RSMo
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 6 of 34 PagelD #: 9

IN THE 34TH JUDICIAL CIRCUIT, NEW MADRID COUNTY, MISSOURI

 

 

 

Judge or Division: Case Number: 18NM-CV00745
FRED W COPELAND
Plaintiff/Petitioner: Plaintiff s/Petitioner’s Attorney/Address:
ROSHIA MOORE BRENT ALAN SUMNER

SUITE 400

911 WASHINGTON AVENUE
vs. | SAINT LOUIS, MO 63101

 

 

 

 

Defendani/Respondent: Court Address:

KEVIN WILSON New Madrid Court House

Nature of Suit: 450 Main Street

CC Pers Injury-Vehicular NEW MADRID, MO 63869 (Date File Stamp)

 

Summons for Personal Service Outside the State of Missouri
(Except Attachment Action)

 

The State of Missouri to: KEVIN WILSON

Alias:
1702 SHANNON STREET
#137
MONROE, LA 71201

You are summoned to appear before this court and to file your pleading to the petition, copy of
which is attached, and to serve a copy of your pleading upon the attorney for the
plaintiff/petitioner at the above address all within 30 days after service of this summons upon
you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
taken against you for the relief demanded in this action.

ens “Marcle. “M.

NEW MADRID COUNTY Date Clerk by:/s/Jo Crockett
Further Information:

 

 

 

Officer’s or Server's Affidavit of Service

| certify that:
1. lam authorized to serve process in civil actions within the state or territory where the above summons was served.
2. My official title is of County, (state).

 

3. | have served the above summons by: (check one)
delivering a copy of the summons and a copy of the petition to the defendant/respondent.
Cc] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the

defendant/respondent with , a person of the defendant’s/respondent’s family
over the age of 15 years who permanently resides with the defendant/respondent.

['] (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

(name) (title).
(1) other:
Served at (address)
in County, (state), on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Subscribed and sworn to before me this (day) (month) (year).

 

| am: (check one) L] the clerk of the court of which affiant is an officer.
[_] the judge of the court of which affiant is an officer.

_] authorized to administer oaths in the state in which the affiant served the above
(Seal)
summons. (use for out-of-state officer)
[-] authorized to administer oaths. (use for court-appointed server)

 

Signature and Title

 

Service Fees

 

 

 

Summons $
Non Est $
Mileage $ ( miles @ $ per mile)
Total $
See the following page for directions to officer making return on service of summons.
OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SMOS-58 1 of 2 (18NM-CV00745) Rules 54.06, 54.07, 54.14, 54.20;

506.500, 506.510 RSMo

 
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 7 of 34 PagelD #: 10

 

Directions to Officer Making Return on Service of Summons

A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
defendant’s/respondent’s refusal to receive the same.

Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
registered agent or to any other agent authorized by appointment or required by law to receive service of process;
(4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
any person otherwise lawfully so designated.

Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
territory where such service is made.

Service may be made in any state or territory of the United States. If served in a territory, substitute the word
“territory” for the word “state.”

The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
within the state or territory where service is made.

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appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
30 days after service.

 

 

 

OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SMOS-58 2 of 2 (18NM-CV00745) Rules 54.06, 54.07, 54.14, 54.20;
506.500, 506.510 RSMo
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 8 of 34 PagelD #: 11

IN THE CIRCUIT COURT OF NEW MADRID COUNTY
STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

ROSHIA MOORE,

LINDA MOORE, individually, and as
Administrator of the Estate of
Roosevelt Moore, deceased,

DEQUEZ SANDERS, a minor, by and through

his Next Friend, Roshia Moore, and
ZACHARIUS MCCLAIN, a minor,

by and through his Nest Friend, Teresa Moore,

Plaintiffs,
Vv.

KEVIN WILSON, and
TRADEWINDS LOGISTICS, INC.,

Defendants.

Cause No. 18NM-CV00745

Newer! Nee wee Nee” Same Nee” Semeur” eee” Seaee” Nnee” e nee” ee”

MEMORANDUM - REQUEST TO ISSUE SUMMONSES

Plaintiffs filed the Petition in the above matter on November 7, 2018 against Defendants.

Plaintiffs hereby request that summons be issued for Kevin Wilson to be served at 1702 Shannon

Street, #137, Monroe, Louisiana 71201 and Tradewinds Logistics to be Served c/o Registered

Agent Eric Douthit, 2 North 9" Street, Noblesville, Indiana 46060.

Respectfully Submitted,
THE SUMNER LAW GROUP, LLC

By__/s/Andrew S. Martin

Brent A. Sumner, #59460

Andrew S. Martin, #62657

Samantha L. Indelicato, #71011

7777 Bonhomme Avenue, Suite 2100
Clayton, Missouri 63105

Telephone: 314-669-0048

Fax: 888-259-7550
brent(@sumnerlawgroup.com
Attorneys for Plaintiff
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: "4 34 PagelD #;
8NM-CV00745

IN THE CIRCUIT COURT OF NEW MADRID COUNTY
STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

ROSHIA MOORE,

LINDA MOORE, individually, and as
Administrator of the Estate of

Roosevelt Moore, deceased,

DEQUEZ SANDERS, a minor, by and through
his Next Friend, Roshia Moore, and

ZACH MCCLAIN, a minor, by and through
his Nest Friend, Teresa Moore,

Cause No.

Division No.

Plaintiffs,
Vv.
JURY TRIAL DEMANDED
KEVIN WILSON,
Serve at:
1702 Shannon Street
#137
Monroe, Louisiana 71201

and

TRADEWINDS LOGISTICS, INC.,
Serve: Eric Douthit

Registered Agent

2 North 9" Street

Noblesville, Indiana 46060

Defendants.

Nemo” Nee See? Nome” Neem” Nee” Nee? ome” Nene” Smee Nn” Neen” See Nee” Nee” ee” Nee ee nee” eee” ee” ee” ee” ee” ee ee Le”

CONSENT TO ACT AS NEXT FRIEND
COMES NOW Petitioner, Roshia Moore, and hereby expresses her consent to act as Next
Friend for Dequez Sanders, born August 7, 2006, in order to prosecute this Petition for personal

injury and agrees to prosecute said action diligently.
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 10 of 34 PagelD #: 13

STATE OF Loobaes )
. )ss

COUNTY OF Pr levee )

Roshia Moore, being duly sworn upon her oath, does state that the facts of the matter

contained in the foregoing are true and correct to the best of her knowledge and belief.

rou hie MOOK

ROSHIA MOORE, Petitioner/Natural Mother

Subscribed and sworn to me this 2@_ day of Aleges ¢ r 20/8.

Notary Public
My Commission Expires: Tek
zh 1b, ZOLE

Respectfully submitted,
THE SUMNER LAW GROUP, LLC

By J ~

Brent A. Sumner, #59460MO
Andrew Martin, #62657MO

7777 Bonhomme Avenue, Suite 2100
Clayton, Missouri 63105

Telephone: 314-669-0048

Fax: 888-259-7550:
brent(@sumnerlawgroup.com
Attorneys for Plaintiff
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 11 of 34 PagelD #: 14

 

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Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 12 of 34 PagelD #: 15

18NM-CV00745
IN THE CIRCUIT COURT OF NEW MADRID COUNTY
STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

ROSHIA MOORE,

LINDA MOORE, individually, and as
Administrator of the Estate of

Roosevelt Moore, deceased,

DEQUEZ SANDERS, a minor, by and through
his Next Friend, Roshia Moore, and

ZACH MCCLAIN, a minor, by and through
his Nest Friend, Teresa Moore,

Cause No.

Division No.

Plaintiffs,
Vv.
JURY TRIAL DEMANDED
KEVIN WILSON,
Serve at:
1702 Shannon Street
#137

Monroe, Louisiana 71201
and

TRADEWINDS LOGISTICS, INC.,
Serve: Eric Douthit

Registered Agent

2 North 9" Street

Noblesville, Indiana 46060

Newt Nee? Nee? eet ee ee ee ee a ee ee ee ee es ee ee a ee ae ee ee ee ee ee ee” ee ee”

Defendants.

CONSENT TO ACT AS NEXT FRIEND

 

COMES NOW Petitioner, Teresa Moore, and hereby expresses her consent to act as Next
Friend for Zach McClain, born November 22, 2002, in order to prosecute this Petition for personal

injury and agrees to prosecute said action diligently.
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 13 of 34 PagelD #: 16

STATE OF INDIANA )
)SS

COUNTY OF warton sss t—Ctéi‘é*O?#

Theresa Moore, being duly sworn upon her oath, does state that the facts of the matter

contained in the foregoing are true and correct to the best of her knowledge and belief.

DO. geo

TERESA MOORE, Petitioner/Natural Mother

Subscribed and sworn to me this 25th day of September , 2018

 

Notary Public

My Commission Expires: FEBRUARY 1, 2025

  

   

JAMES D. ALLEN SR.
Seat
Notary Public ~ State of tndiana

, Marion County
G My Commission Expires Feb 1, 2025

  

Respectfully submitted,
THE SUMNER LAW GROUP, LLC

 

By LG

Brent A. Sumner, #59460MO
Andrew Martin, #62657MO

7777 Bonhomme Avenue, Suite 2100
Clayton, Missouri 63105

Telephone: 314-669-0048

Fax: 888-259-7550
brent@sumnerlawgroup.com
Attorneys for Plaintiff
Case: 1:19-cv-00007-ACL Doc. #: 1-1 Filed: 01/15/19 Page: 14 of 34 PagelD #: 17

18NM-CV00745

IN THE CIRCUIT COURT OF NEW MADRID COUNTY
STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

ROSHIA MOORE,

LINDA MOORE, individually, and as
Administrator of the Estate of

Roosevelt Moore, deceased,

DEQUEZ SANDERS, a minor, by and through
his Next Friend, Roshia Moore, and
ZACHARIUS MCCLAIN, a minor,

by and through his Nest Friend, Teresa Moore,

Cause No.

JURY TRIAL DEMANDED

Plaintiffs,
Vv.

KEVIN WILSON, and
TRADEWINDS LOGISTICS, INC.,

New Nee Nee Nee ee ee ee Se” ee ee’ ee ee’ ee” Ne Se Se”

Defendants.
MOTION FOR CHANGE OF VENUE PURSUANT TO MRCP 51.03

COMES NOW Plaintiffs, by and through undersigned counsel, and for their Motion for
Change of Venue Pursuant to Rule 51.03 of the Missouri Rules of Civil Procedure, states:

1. The above personal injury action is filed in New Madrid County, Missouri.

2. The population of New Madrid County, Missouri, as of the 2010 US Census, was
18,956.

3. Under Rule 51.03 of the Missouri Rules of Civil Procedure, a change of venue shall
be ordered in a civil action triable by jury that is pending in a county having seventy-five thousand
or less inhabitants upon the filing of a written motion.

WHEREFORE, Plaintiffs seek an Order from this Court transferring venue out of
Washington County and to a properly convenient county, and for any other relief this Court deems

just and proper under the circumstances.
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Respectfully Submitted,
THE SUMNER LAW GROUP, LLC

By__/s/Andrew S. Martin

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18NM-CV00745
IN THE CIRCUIT COURT OF NEW MADRID COUNTY
STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

ROSHIA MOORE,

LINDA MOORE, individually, and as
Administrator of the Estate of
Roosevelt Moore, deceased,

DEQUEZ SANDERS, a minor, by and through

his Next Friend, Roshia Moore, and
ZACHARIUS MCCLAIN, a minor,

by and through his Nest Friend, Teresa Moore,

Plaintiffs,
V.

KEVIN WILSON,

Serve at:

1702 Shannon Street
#137

Monroe, Louisiana 71201

and

TRADEWINDS LOGISTICS, INC.,
Serve: Eric Douthit

Registered Agent

2 North 9" Street

Noblesville, Indiana 46060

Defendants.

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PETITION

Cause No.

JURY TRIAL DEMANDED

COMES NOW Plaintiffs, by and through undersigned counsel, and for their Petition,

states:

1. Plaintiff Dequez Sanders is and at all times herein mentioned was a minor

individual residing in Mississippi.

2. Roshia Moore is the biological mother of Plaintiff Dequez Sanders.
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3. Plaintiff Zacharius McClain is and at all times herein mentioned was a minor
individual residing in Mississippi.

4. Teresa Moore is the biological mother of Plaintiff Zacharius McClain.

5. Plaintiff Roshia Moore is and at all times herein mentioned was an individual
residing in Mississippi.

6. Plaintiff Linda Moore is and at all times herein mentioned was an individual
residing in Indiana.

7. Plaintiff Linda Moore is the widowed wife of Roosevelt Moore, deceased. She is
a rightful claimant pursuant to § 537.080(1) of the Revised Statutes of Missouri in this lawsuit for
the wrongful death of Roosevelt Moore. Further, Linda Moore is the lawfully appointed
administrator of the Estate of Roosevelt Moore. She is a rightful claimant pursuant to § 537.021(2)
to pursue the damages resulting from personal injury to Roosevelt Moore, decedent, described
herein below prior to his death as provided pursuant to § 537.020.

8. Defendant Kevin Wilson is and at all times herein mentioned was an individual
residing in Louisiana. Kevin Wilson can be served at 1702 Shannon Street, #137, Monroe,
Louisiana 71201.

9. Defendant Tradewinds Logistics, Inc. is an Indiana corporation in good standing
and may be served through its registered agent, Eric Douthit at 2 North 9" Street, Noblesville,
Indiana 46060.

10. That at all relevant times, Defendant Kevin Wilson was an agent, servant and/or
employee of Defendant Tradewinds Logistics, Inc. acting within the course and scope of his

employment.
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11. The cause of action herein occurred in New Madrid County, Missouri on or about
May 27, 2015 when Plaintiffs were involved in a motor vehicle crash with Defendants.

12. Venue is proper in the Circuit Court of New Madrid County, Missouri under §
508.010, inasmuch as the crash which gave rise to these claims occurred in New Madrid County,
Missouri.

13. Onor about May 27, 2015, at approximately 3:00 p.m., Defendants were operating
a 2011 Kenworth semi-truck pulling a 2014 Vanguard trailer, owned by Defendant Tradewinds
Logistics, Inc., on Interstate 55 northbound before when it collided with a 2004 Chevrolet
Suburban pulling a U-Haul trailer driven by Plaintiff Roshia Moore with Plaintiffs Dequez
Sanders, Zacharius Moore and decedent Roosevelt Moore as passengers.

14. That the front end of Defendants’ semi-truck collided with the rear end of Plaintiffs’

Suburban causing the Suburban to overturn and slide on its side before it returned to an upright

 

 

position and jackknifed.
COUNT I- NEGLIGENCE
ROSHIA MOORE v. DEFENDANTS
15. Plaintiff Roshia Moore restates, re-alleges and incorporates by reference the

allegations contained in all preceding paragraphs as if more fully set forth herein.

16. At the above-mentioned time and place, Defendants, individually and through its
agent, servant and/or employee, had the duty to exercise the highest degree of care for the safety
of other persons upon the roadway, including Plaintiff, and was careless and negligence in one or
more of the following respects:

a. Failing to maintain control of the semi-truck and trailer;

b. Failing to keep a careful lookout;
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c. Failing to operate the semi-truck and trailer in a careful and prudent manner;
and

d. Failing to stop, slow, slacken speed, sound horn and/or swerve to avoid
colliding with Plaintiffs’ vehicle when it was known or should be known that
there was a danger of a collision.

17. Asa direct and proximate result of the negligence and carelessness of Defendants,
individual and through its agent, servant and/or employee, Plaintiff was caused to sustain injuries
to her neck and back.

18. That Plaintiffs injuries are permanent, painful, progressive and disabling.

19. That Plaintiff has incurred medical expenses in excess of One Thousand Dollars to
the time of filing of this Petition and will incur further medical expenses in the future.

20. Asadirect and proximate result of the negligence of Defendants, Plaintiff's injuries
has interfered with her daily life, caused inconvenience, and pain and suffering that is expected to
continue in the future.

WHEREFORE, Plaintiff prays for judgment against Defendants in a sum in excess of
Twenty-Five Thousand Dollars as is fair and reasonable to compensate Plaintiff for injuries along
with court costs incurred in this action, all interest allowed under law, and for such other relief this
Court deems just and proper under the circumstances.

COUNT II —- NEGLIGENCE
ROSHIA MOORE v. DEFENDANT TRADEWINDS LOGISTICS, INC.

21. Plaintiff Roshia Moore restates, re-alleges and incorporates by reference the

allegations contained in all preceding paragraphs as if more fully set forth herein.
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22. That it was the duty of Tradewinds Logistics, Inc. to exercise ordinary care in its
hiring, training and supervision of its agents, employees and servants, including Defendant Kevin
Wilson.

23. That Defendant Tradewinds Logistics, Inc. did not do its due diligence before hiring
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from being hired.

24, That Defendant Tradewinds Logistics, Inc. did not provide adequate training to
Defendant Kevin Wilson sufficient for him to execute his job duties, including driving on Missouri
highways and roadways.

25. That Defendant Tradewinds Logistics, Inc. did not provide adequate supervision of
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from working for Defendant Tradewinds Logistics, Inc. and/or driving
vehicles/transporting freight for Defendant Tradewinds Logistics, Inc.

26. That Defendant Tradewinds Logistics, Inc. was thereby careless and negligent in

the following ways:

a. Failing to exercise ordinary care in the hiring of Defendant Kevin Wilson;
b. Failing to exercise ordinary care in the training of Defendant Kevin Wilson;
and
c. Failing to exercise ordinary care in the supervision of Defendant Kevin
Wilson.
27. Asa direct and proximate result of the negligence and carelessness of Defendant

Tradewinds Logistics, Inc., Plaintiff was caused to sustain injuries to her neck and back.

28. That Plaintiffs injuries are permanent, painful, progressive and disabling.
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29. That Plaintiff has incurred medical expenses in excess of One Thousand Dollars to
the time of filing of this Petition and will incur further medical expenses in the future.

30. As a direct and proximate result of the negligence of Defendant Tradewinds
Logistics, Inc., Plaintiff's injuries has interfered with her daily life, caused inconvenience, and
pain and suffering that is expected to continue in the future.

WHEREFORE, Plaintiff prays for judgment against Defendant Tradewinds Logistics, Inc.
in a sum in excess of Twenty-Five Thousand Dollars as is fair and reasonable to compensate
Plaintiff for injuries along with court costs incurred in this action, all interest allowed under law,
and for such other relief this Court deems just and proper under the circumstances.

COUNT Ill — NEGLIGENCE
ZACHARIUS MCCLAIN v. DEFENDANTS

31. Plaintiff Zacharius McClain restates, re-alleges and incorporates by reference the
allegations contained in all preceding paragraphs as if more fully set forth herein.

32. At the above-mentioned time and place, Defendants, individually and through its
agent, servant and/or employee, had the duty to exercise the highest degree of care for the safety
of other persons upon the roadway, including Plaintiff, and was careless and negligence in one or
more of the following respects:

a. Failing to maintain control of the semi-truck and trailer;

b. Failing to keep a careful lookout;

c. Failing to operate the semi-truck and trailer in a careful and prudent manner;
and

d. Failing to stop, slow, slacken speed, sound horn and/or swerve to avoid
colliding with Plaintiffs’ vehicle when it was known or should be known that

there was a danger of a collision.
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33. As a direct and proximate result of the negligence and carelessness of Defendants,
individual and through its agent, servant and/or employee, Plaintiff was caused to sustain injuries
to his right leg, ankle and neck.

34. That Plaintiffs injuries are permanent, painful, progressive and disabling.

35. That Plaintiff has incurred medical expenses in excess of One Thousand Dollars to
the time of filing of this Petition and will incur further medical expenses in the future.

36. Asadirect and proximate result of the negligence of Defendants, Plaintiff's injuries
has interfered with his daily life, caused inconvenience, and pain and suffering that is expected to
continue in the future.

WHEREFORE, Plaintiff prays for judgment against Defendants in a sum in excess of
Twenty-Five Thousand Dollars as is fair and reasonable to compensate Plaintiff for injuries along
with court costs incurred in this action, all interest allowed under law, and for such other relief this
Court deems just and proper under the circumstances.

COUNT IV — NEGLIGENCE
ZACHARIUS MCCLAIN v. DEFENDANT TRADEWINDS LOGISTICS, INC.

37. Plaintiff Zacharius McClain restates, re-alleges and incorporates by reference the
allegations contained in all preceding paragraphs as if more fully set forth herein.

38. That it was the duty of Tradewinds Logistics, Inc. to exercise ordinary care in its
hiring, training and supervision of its agents, employees and servants, including Defendant Kevin
Wilson.

39. That Defendant Tradewinds Logistics, Inc. did not do its due diligence before hiring
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified

Defendant Kevin Wilson from being hired.
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40. That Defendant Tradewinds Logistics, Inc. did not provide adequate training to
Defendant Kevin Wilson sufficient for him to execute his job duties, including driving on Missouri
highways and roadways.

41. That Defendant Tradewinds Logistics, Inc. did not provide adequate supervision of
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from working for Defendant Tradewinds Logistics, Inc. and/or driving
vehicles/transporting freight for Defendant Tradewinds Logistics, Inc.

42. That Defendant Tradewinds Logistics, Inc. was thereby careless and negligent in

the following ways:

a. Failing to exercise ordinary care in the hiring of Defendant Kevin Wilson;
b. Failing to exercise ordinary care in the training of Defendant Kevin Wilson;
and
C. Failing to exercise ordinary care in the supervision of Defendant Kevin
Wilson.
43. Asa direct and proximate result of the negligence and carelessness of Defendant

Tradewinds Logistics, Inc., Plaintiff was caused to sustain injuries to his right leg, ankle and neck.

44, _—_ That Plaintiff's injuries are permanent, painful, progressive and disabling.

45. That Plaintiff has incurred medical expenses in excess of One Thousand Dollars to
the time of filing of this Petition and will incur further medical expenses in the future.

46. As a direct and proximate result of the negligence of Defendant Tradewinds
Logistics, Inc., Plaintiff's injuries has interfered with his daily life, caused inconvenience, and pain

and suffering that is expected to continue in the future.
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WHEREFORE, Plaintiff prays for judgment against Defendant Tradewinds Logistics, Inc.
in a sum in excess of Twenty-Five Thousand Dollars as is fair and reasonable to compensate
Plaintiff for injuries along with court costs incurred in this action, all interest allowed under law,
and for such other relief this Court deems just and proper under the circumstances.

COUNT V— NEGLIGENCE
DEQUEZ SANDERS v. DEFENDANTS

47. Plaintiff Dequez Sanders restates, re-alleges and incorporates by reference the
allegations contained in all preceding paragraphs as if more fully set forth herein.

48. At the above-mentioned time and place, Defendants, individually and through its
agent, servant and/or employee, had the duty to exercise the highest degree of care for the safety
of other persons upon the roadway, including Plaintiff, and was careless and negligence in one or
more of the following respects:

a. Failing to maintain control of the semi-truck and trailer;

b. Failing to keep a careful lookout;

c. Failing to operate the semi-truck and trailer in a careful and prudent manner;
and

d. Failing to stop, slow, slacken speed, sound horn and/or swerve to avoid
colliding with Plaintiffs’ vehicle when it was known or should be known that
there was a danger of a collision.

49. Asa direct and proximate result of the negligence and carelessness of Defendants,
individual and through its agent, servant and/or employee, Plaintiff was caused to sustain injuries
to his head, brain, neck, back and left arm.

50. That Plaintiffs injuries are permanent, painful, progressive and disabling.
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51. That Plaintiff has incurred medical expenses in excess of One Thousand Dollars to
the time of filing of this Petition and will incur further medical expenses in the future.

52. Asadirect and proximate result of the negligence of Defendants, Plaintiffs injuries
has interfered with his daily life, caused inconvenience, and pain and suffering that is expected to
continue in the future.

WHEREFORE, Plaintiff prays for judgment against Defendants in a sum in excess of
Twenty-Five Thousand Dollars as is fair and reasonable to compensate Plaintiff for injuries along
with court costs incurred inthis action, all interest allowed under law, and for such other relief this
Court deems just and proper under the circumstances.

COUNT VI— NEGLIGENCE
DEQUEZ SANDERS v. DEFENDANT TRADEWINDS LOGISTICS, INC.

53. Plaintiff Dequez Sanders restates, re-alleges and incorporates by reference the
allegations contained in all preceding paragraphs as if more fully set forth herein.

54. That it was the duty of Tradewinds Logistics, Inc. to exercise ordinary care in its
hiring, training and supervision of its agents, employees and servants, including Defendant Kevin
Wilson.

55. That Defendant Tradewinds Logistics, Inc. did not do its due diligence before hiring
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from being hired.

56. That Defendant Tradewinds Logistics, Inc. did not provide adequate training to
Defendant Kevin Wilson sufficient for him to execute his job duties, including driving on Missouri
highways and roadways.

57. That Defendant Tradewinds Logistics, Inc. did not provide adequate supervision of

Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
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Defendant Kevin Wilson from working for Defendant Tradewinds Logistics, Inc. and/or driving
vehicles/transporting freight for Defendant Tradewinds Logistics, Inc.
58. That Defendant Tradewinds Logistics, Inc. was thereby careless and negligent in

the following ways:

a. Failing to exercise ordinary care in the hiring of Defendant Kevin Wilson;
b. Failing to exercise ordinary care in the training of Defendant Kevin Wilson;
and
C. Failing to exercise ordinary care in the supervision of Defendant Kevin
Wilson.
59. As a direct and proximate result of the negligence and carelessness of Defendant

Tradewinds Logistics, Inc., Plaintiff was caused to sustain injuries to his head, brain, back, neck

and left arm.
60. ‘That Plaintiffs injuries are permanent, painful, progressive and disabling.
61. That Plaintiff has incurred medical expenses in excess of One Thousand Dollars to

the time of filing of this Petition and will incur further medical expenses in the future.

62. As a direct and proximate result of the negligence of Defendant Tradewinds
Logistics, Inc., Plaintiffs injuries has interfered with his daily life, caused inconvenience, and pain
and suffering that is expected to continue in the future.

WHEREFORE, Plaintiff prays for judgment against Defendant Tradewinds Logistics, Inc.
in a sum in excess of Twenty-Five Thousand Dollars as is fair and reasonable to compensate
Plaintiff for injuries along with court costs incurred in this action, all interest allowed under law,

and for such other relief this Court deems just and proper under the circumstances.
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COUNT VIL—- NEGLIGENCE
LINDA MOORE, as Administrator of the Estate of Roosevelt Moore v. DEFENDANTS

63. Plaintiff Linda Moore, as Administrator of the Estate of Roosevelt Moore, restates,
re-alleges and incorporates by reference the allegations contained in all preceding paragraphs as if
more fully set forth herein.

64. At the above-mentioned time and place, Defendants, individually and through its
agent, servant and/or employee, had the duty to exercise the highest degree of care for the safety
of other persons upon the roadway, including decedent Roosevelt Moore, and was careless and
negligence in one or more of the following respects:

a. Failing to maintain control of the semi-truck and trailer;

b. Failing to keep a careful lookout;

c. Failing to operate the semi-truck and trailer in a careful and prudent manner;
and

d. Failing to stop, slow, slacken speed, sound horn and/or swerve to avoid
colliding with Plaintiffs’ vehicle when it was known or should be known that
there was a danger of a collision.

65. Asa direct and proximate result of the negligence and carelessness of Defendants,
individual and through its agent, servant and/or employee, decedent Roosevelt Moore was caused
to sustain injuries to his left leg, right leg, back, neck and head.

66. That decedent Roosevelt Moore incurred medical expenses in excess of One
Thousand Dollars to the time of his death on or about September 13, 2017.

67. As a direct and proximate result of the negligence of Defendants, decedent
Roosevelt Moore’s injuries interfered with his daily life, caused inconvenience, and pain and

suffering that continued until the time of his death on or about September 13, 2017.
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WHEREFORE, Plaintiff prays for judgment against Defendants in a sum in excess of
Twenty-Five Thousand Dollars as is fair and reasonable to compensate Plaintiff for injuries along
with court costs incurred in this action, all interest allowed under law, and for such other relief this
Court deems just and proper under the circumstances.

COUNT VIII —- NEGLIGENCE
LINDA MOORE, as Administrator of the Estate of Roosevelt Moore
vy. DEFENDANT TRADEWINDS LOGISTICS, INC.

68. Plaintiff Linda Moore, as Administrator of the Estate of Roosevelt Moore, re-
alleges and incorporates by reference the allegations contained in all preceding paragraphs as if
more fully set forth herein.

69. That it was the duty of Tradewinds Logistics, Inc. to exercise ordinary care in its
hiring, training and supervision of its agents, employees and servants, including Defendant Kevin
Wilson.

70. That Defendant Tradewinds Logistics, Inc. did not do its due diligence before hiring
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from being hired.

71. That Defendant Tradewinds Logistics, Inc. did not provide adequate training to
Defendant Kevin Wilson sufficient for him to execute his job duties, including driving on Missouri
highways and roadways.

72. That Defendant Tradewinds Logistics, Inc. did not provide adequate supervision of
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from working for Defendant Tradewinds Logistics, Inc. and/or driving

vehicles/transporting freight for Defendant Tradewinds Logistics, Inc.
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73. That Defendant Tradewinds Logistics, Inc. was thereby careless and negligent in

the following ways:

a. Failing to exercise ordinary care in the hiring of Defendant Kevin Wilson;
b. Failing to exercise ordinary care in the training of Defendant Kevin Wilson;
and
c. Failing to exercise ordinary care in the supervision of Defendant Kevin
Wilson.
74. Asa direct and proximate result of the negligence and carelessness of Defendant

Tradewinds Logistics, Inc., individual and through its agent, servant and/or employee, decedent
Roosevelt Moore was caused to sustain injuries to his left leg, right leg, back, neck and head.

75. That decedent Roosevelt Moore incurred medical expenses in excess of One
Thousand Dollars to the time of his death on or about September 13, 2017.

76. As a direct and proximate result of the negligence of Defendant Tradewinds
Logistics, Inc., decedent Roosevelt Moore’s injuries interfered with his daily life, caused
inconvenience, and pain and suffering that continued until the time of his death on or about
September 13, 2017.

WHEREFORE, Plaintiff prays for judgment against Defendant Tradewinds Logistics, Inc.
in a sum in excess of Twenty-Five Thousand Dollars as is fair and reasonable to compensate
Plaintiff for injuries along with court costs incurred in this action, all interest allowed under law,
and for such other relief this Court deems just and proper under the circumstances.

COUNT IX — WRONGFUL DEATH
LINDA MOORE, individually v. DEFENDANTS

77. Plaintiff Linda Moore, individually, restates, re-alleges and incorporates by

reference the allegations contained in all preceding paragraphs as if more fully set forth herein.
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78. Plaintiff Linda Moore, individually, pleads in the alternative to Count VII, the facts
alleged in Count IX herein.

79. At the above-mentioned time and place, Defendants, individually and through its
agent, servant and/or employee, had the duty to exercise the highest degree of care for the safety
of other persons upon the roadway, including decedent Roosevelt Moore, and was careless and
negligence in one or more of the following respects:

a. Failing to maintain control of the semi-truck and trailer;

b. Failing to keep a careful lookout;

c. Failing to operate the semi-truck and trailer in a careful and prudent manner;
and

d. Failing to stop, slow, slacken speed, sound horn and/or swerve to avoid
colliding with Plaintiffs’ vehicle when it was known or should be known that
there was a danger of a collision.

80. Asadirect and proximate result of the negligence and carelessness of Defendants,
individual and through its agent, servant and/or employee, decedent Roosevelt Moore was caused
to sustain injuries to his left leg, right leg, back, neck and head.

81. | Decedent Roosevelt Moore died on September 13, 2017 as a result of the injuries
he sustained as a passenger in the May 27, 2015 crash between Plaintiffs’ Suburban and
Defendants’ Kenworth semi-truck.

82. That decedent Roosevelt Moore incurred medical expenses in excess of One

Thousand Dollars to the time of his death on or about September 13, 2017.
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83. As a direct and proximate result of the negligence of Defendants, decedent
Roosevelt Moore’s injuries interfered with his daily life, caused inconvenience, and pain and
suffering that continued until the time of his death on or about September 13, 2017.

84. As a direct and proximate result of the negligence of Defendants, Plaintiff Linda
Moore was caused to incur funeral and burial expenses for decedent Roosevelt Moore.

85. That as a direct and proximate result of the negligence of Defendants, Plaintiff
Linda Moore was caused to suffer a loss of decedent Roosevelt Moore’s services, companionship
and comfort.

86. That as a direct and proximate result of the aforesaid negligence of Defendants,
Plaintiff Linda Moore was caused to suffer great mental pain and anguish resulting from decedent
Roosevelt Moore’s death.

WHEREFORE, Plaintiff prays for judgment against Defendants in a sum in excess of
Twenty-Five Thousand Dollars as is fair and reasonable to compensate Plaintiff for the death of
Roosevelt Moore along with court costs incurred in this action, all interest allowed under law, and
for such other relief this Court deems just and proper under the circumstances.

COUNT X — WRONGFUL DEATH
LINDA MOORE, individually v. DEFENDANT TRADEWINDS LOGISTICS, INC.

87. Plaintiff Linda Moore, individually, restates, re-alleges and incorporates by
reference the allegations contained in all preceding paragraphs as if more fully set forth herein.

88. Plaintiff Linda Moore, individually, pleads in the alternative to Count VIII, the facts
alleged in Count X herein.

89. That it was the duty of Tradewinds Logistics, Inc. to exercise ordinary care in its

hiring, training and supervision of its agents, employees and servants, including Defendant Kevin

Wilson.
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90. That Defendant Tradewinds Logistics, Inc. did not do its due diligence before hiring
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from being hired.

91. That Defendant Tradewinds Logistics, Inc. did not provide adequate training to
Defendant Kevin Wilson sufficient for him to execute his job duties, including driving on Missouri
highways and roadways.

92. That Defendant Tradewinds Logistics, Inc. did not provide adequate supervision of
Defendant Kevin Wilson and thereby overlooked items and events that should have disqualified
Defendant Kevin Wilson from working for Defendant Tradewinds Logistics, Inc. and/or driving
vehicles/transporting freight for Defendant Tradewinds Logistics, Inc.

93. That Defendant Tradewinds Logistics, Inc. was thereby careless and negligent in

the following ways:

a. Failing to exercise ordinary care in the hiring of Defendant Kevin Wilson;
b. Failing to exercise ordinary care in the training of Defendant Kevin Wilson;
and
c. Failing to exercise ordinary care in the supervision of Defendant Kevin
Wilson.
94. As a direct and proximate result of the negligence and carelessness of Defendant

Tradewinds Logistics, Inc., decedent Roosevelt Moore was caused to sustain injuries to his left
leg, right leg, back, neck and head.

95.  Decedent Roosevelt Moore died on September 13, 2017 as a result of the injuries
he sustained as a passenger in the May 27, 2015 crash between Plaintiffs’ Suburban and

Defendants’ Kenworth semi-truck.
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96. That decedent Roosevelt Moore incurred medical expenses in excess of One
Thousand Dollars to the time of his death on or about September 13, 2017.

97. As a direct and proximate result of the negligence of Defendant Tradewinds
Logistics, Inc., decedent Roosevelt Moore’s injuries interfered with his daily life, caused
inconvenience, and pain and suffering that continued until the time of his death on or about
September 13, 2017.

98. As a direct and proximate result of the negligence of Defendant Tradewinds
Logistics, Inc., Plaintiff Linda Moore was caused to incur funeral and burial expenses for decedent
Roosevelt Moore.

99. That as a direct and proximate result of the negligence of Defendant Tradewinds
Logistics, Inc., Plaintiff Linda Moore was caused to suffer a loss of decedent Roosevelt Moore’s
services, companionship and comfort.

100. That as a direct and proximate result of the aforesaid negligence of Defendant
Tradewinds Logistics, Inc., Plaintiff Linda Moore was caused to suffer great mental pain and
anguish resulting from decedent Roosevelt Moore’s death.

WHEREFORE, Plaintiff prays for judgment against Defendant Tradewinds Logistics, Inc.
in a sum in excess of Twenty-Five Thousand Dollars as is fair and reasonable to compensate
Plaintiff for the death of Roosevelt Moore along with court costs incurred in this action, all interest
allowed under law, and for such other relief this Court deems just and proper under the

circumstances.
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Respectfully Submitted,
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